 

-._.._¢..._._.._,..,...,...._.._._

Case 7:18-cr-01041 Document 13 Filed in TXSD on 08/24/18 Page 1 of 2
£°““wu"_WJT§§S°CV-OlO/ll *SEALED* Document 5 Filed in TXSD on 06/19/18 Page 1 of 2
1

JUN 1 9 2018

UNITED STATES DISTRICT COURT

Davld J. Brad\ey, Clerk
SOUTHERN DISTRICT OF TEXAS

 

McALLEN DIVISION

UNITED STATES OF AMERICA §

§
v. § Criminal No.

§ M ' 1 8 " 1 0 4 1
CHRISTINA MARIE LAVADENZ § '
also known as Popz Lavadenz §

§

§
EVER CEBALLOS MARISCAL §
also known as Nano §

SEALED INDICTMENT
THE GRAND JURY CHARGES:
Count One

On or about Apn`l 30, 2017, in the Southern District of Texas and within the jurisdiction of
the Court, defendants,
CHRISTINA MARIE LAVADENZ

also known as Popz Lavadenz

EVER CEBALTC(:S MARISCAL
also known as Nano
did knowingly and intentionally conspire and agree together and with other persons known and
unknown to the Grand Jurors, to possess with intent to distribute a controlled substance. The
controlled substance involved was 5 kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance

In violation of Title 21, United States Code, Sections 846, 841 (a)(l), and 84l(b)(l)(A).

 

 

Case 7:18-cr-01041 Document 13 Filed in TXSD on 08/24/18 Page 2 of 2
Case 7:18-cr-01041 *SEALED* Document 5 Filed in TXSD on 06/19/18 Page 2 of 2

Count Two
On or about April 30, 2017, in the Southem District of Texas and within the jurisdiction of
the Court, defendants,
CHRISTINA MARIE LAVADENZ

also known as Popz Lavadenz

EVER CEBALT(()`S MARISCAL
also known as Nano
did knowingly and intentionally possess with intent to distribute a controlled substance The
controlled substance involved was 5 kilograms or more, that is, approximately 25 kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule ll controlled
substance
ln violation of Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(A) and Title

18, United States Code, Section 2.

A TRUE BILL

 

FOREPERSGN 0 l

RYAN K. PATRICK
UNITED STATES ATTORNEY

,\__/v[»\\A.

ASSISTANT UNITED STATES ATTORNEY

 

